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     Exhibit A

Erin Energy - 4 Week Cash Forecast - DIP Loan
Summary Forecast ($)

CASH RECEIPTS AND DISBURSEMENTS                          Week 1        Week 2        Week 3        Week 4
 Beginning of Week                                      6/18/2018     6/25/2018     7/2/2018      7/9/2018
 End of Week                                            6/22/2018     6/29/2018     7/6/2018      7/13/2018
CASH, BEGINNING OF WEEK                               $      36,359 $      36,000 $      36,000 $      36,000
RESTRICTED CASH
NET CASH, BEGINNING OF WEEK                           $     36,359 $          36,000 $      36,000 $       36,000

RECEIPTS

 Cash at MCB/PIC                                      $        -     $           -     $       -     $         -
TOTAL RECEIPTS                                        $        -     $           -     $       -     $         -

DISBURSEMENTS

  DIRECT OPERATING DISBURSEMENTS
   OYO 7 Expenses                                     $        -     $           -     $       -     $         -
   FPSO                                                        -                 -             -               -
   Clean Up Well Lines                                         -                 -             -               -
   DIP Loan Fee                                                -                 -             -               -
  TOTAL DIRECT OPERATING DISBURSEMENTS                $        -     $           -     $       -     $         -

  SG&A DISBURSEMENTS
   Misc (Including Travel)                            $     29,839 $           5,000 $         -   $        5,000
   Payroll                                                 178,861            44,089        90,500         10,000
   Benefits                                                  7,313             7,313           -              -
   Rents & Utilities                                        50,450               -          36,900          6,000
   Accounting & Office Services (Oracle, Softwares)          4,500               -             -            4,500
   Website & Other Services                                 14,000               -             -            8,000
   Registration & Franchise Taxes                              -                 -             -              -
   Insurance Expenses                                          -              69,700           -              -
  TOTAL SG&A DISBURSEMENTS                            $    284,963 $         126,102 $     127,400 $       33,500

  RESTRUCTURING ADVISORS
   Financial Advisors                                 $        -     $           -     $       -     $     80,000
   Debtor's Counsel                                            -              20,000           -           75,000
   Unsecured Credit Committee                                  -                 -             -           20,000
   Trustee Fees                                                -                 -             -              -
   Broker Fees                                                 -              85,000           -              -
  TOTAL RESTRUCTURING ADVISORS                        $        -     $       105,000   $       -     $    175,000

  OTHER DISBURSEMENTS
   Asset Protection Payments                          $     46,424 $             -   $         -   $       55,240
   Other Misc                                               15,000            15,000        15,000         15,000
   Other 3                                                     -                 -             -              -
  TOTAL OTHER DISBURSEMENTS                           $     61,424 $          15,000 $      15,000 $       70,240

TOTAL DISBURSEMENTS                                   $    346,387 $         246,102 $     142,400 $      278,740

NET CASH FLOW                                         $    (346,387) $       (246,102) $   (142,400) $    (278,740)

CASH BEFORE BORROWING                                 $    (310,029) $       (210,102) $   (106,400) $    (242,740)

  Interest Payments & Loan Fees                       $     10,702 $           7,611 $       4,404 $       16,153

  Loan Draws
   DIP Facility                                            356,731           253,713       146,804        294,893
  Total Loan Draws                                    $    356,731 $         253,713 $     146,804 $      294,893

  Loan Repayments
   DIP Facility                                                -                 -             -               -
  Total Loan Repayments                               $        -     $           -     $       -     $         -

CASH, END OF WEEK                                     $     36,000 $          36,000 $      36,000 $       36,000

CUMULATIVE BORROWING                                       356,731           610,444       757,248       1,052,142



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 Exhibit A

Erin Energy - 4 Week Cash Forecast - DIP Loan
Other Disbursements ($)

                                             Week 1           Week 2          Week 3          Week 4
                                            6/18/2018        6/25/2018       7/2/2018        7/9/2018
                                            6/22/2018        6/29/2018       7/6/2018       7/13/2018

  Asset Protection Payments
   The Gambia Tax Authority             $            -   $           -   $          -   $           -
   Kenya Fees                                      1,424             -              -               -
    Nigeria Pay                                      -               -              -               -
   Ghana Education Tax                               -               -              -               -
   Permitting Nigeria                                -               -              -
   Cash Call for Gambia                              -               -              -               -
    Ghana Surface lease                              -               -              -               -
   Ghana Office Lease                             32,000             -              -               -
   Expenses for Ghana                                -               -              -            45,240
   Payce Consulting                               13,000             -              -            10,000
  Total Asset Protection Payments       $         46,424 $           -   $          -   $        55,240

  Other Misc
   Other Misc                           $         15,000 $        15,000 $       15,000 $        15,000
  Total Other Misc                      $         15,000 $        15,000 $       15,000 $        15,000


  TOTAL OTHER DISBURSEMENTS             $         61,424 $        15,000 $       15,000 $        70,240




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